

Matter of Attorneys in Violation of Judiciary Law § 468-a (Kropke) (2023 NY Slip Op 02166)





Matter of Attorneys in Violation of Judiciary Law § 468-a (Kropke)


2023 NY Slip Op 02166


Decided on April 27, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:April 27, 2023

PM-89-23
[*1]In the Matter of Attorneys in Violation of Judiciary Law § 468-a. Committee on Professional Standards, Now Known as Attorney Grievance Committee for the Third Judicial Department, Petitioner; Amy Elizabeth Kropke, Respondent. (Attorney Registration No. 3047867.)

Calendar Date:February 27, 2023

Before:

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.
Dunnington, Bartholow &amp; Miller LLP, New York City (Luke McGrath of counsel), for respondent.



Motion by respondent for an order reinstating her to the practice of law following her suspension by January 2014 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 113 AD3d 1020, 1039 [3d Dept 2014]; see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).
Upon reading respondent's notice of motion and affidavit with exhibits sworn to December 13, 2022 and the February 23, 2023 correspondence from the Attorney Grievance Committee for the Third Judicial Department, and having determined, by clear and convincing evidence, that (1) respondent has complied with the order of suspension and the rules of this Court, (2) respondent has the requisite character and fitness to practice law, and (3) it would be in the public interest to reinstate respondent to the practice of law (see Matter of Attorneys in Violation of Judiciary Law § 468-a [Freedman], 166 AD3d 1161, 1162 [3d Dept 2018]), it is
ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effective immediately.
Garry, P.J., Egan Jr., Aarons, Ceresia and Fisher, JJ., concur.








